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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                               Case Number: 21-21543-CIV-MORENO

   ROBERT MICHAELSON, Of Advisory Trust
   Group, LLC, In His Capacity as Debtor
   Representative and Liquidating Trustee,

                  Plaintiff,
   vs.

   PETER BARONOFF, KEITH REUBEN,
   BRIAN DUNN, DAVID ARMSTRONG,
   JAMES HOPWOOD, RICHARD GOLD,
   BRYAN DAY, STAN GRABISH, RICHARD
   COHEN, STEVEN HELLAND, MALINDA
   BARONOFF, SHANNA BARONOFF, JOHN
   DOE(S) #1-100,

               Defendants.
  _________________________________________/

                ORDER CLOSING CASE FOR STATISTICAL PURPOSES AND
                     PLACING MATTER IN CIVIL SUSPENSE FILE

         THIS CAUSE came before the Court upon the Parties' Joint Motion for a Sixty Day Stay

  to Allow for Mediation (D.E. 76), filed on May 17, 2021.

          Accordingly, it is

         ADJUDGED that:

         I.      The Joint Motion is GRANTED.

         II.     The Clerk of this Court shall mark this cause as closed for statistical purposes and

                 place the matter in a civil suspense file.

         III.    The Court shall retain jurisdiction and the case shall be restored to the active

                 docket upon motion of a party if circumstances change so that this action may

                 proceed to final disposition.
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         IV.    This order shall not prejudice the rights of the parties to this litigation.

         V.     Plaintiff SHALL notify the Court by July 19, 2021 and every 30 days thereafter

                of the current status of the proceedings and when this action is ready to proceed.



         DONE AND ORDERED in Chambers at Miami, Florida, this 20th of May 2021.




                                        ______________________________________
                                              FEDERICO A. MORENO
                                              UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record




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